                Case 3:20-cv-05607-BJR Document 18 Filed 11/05/20 Page 1 of 1




 1                                             THE HONORABLE BARBARA J. ROTHSTEIN

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 8                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 9                                      AT TACOMA
10 AMTRUST INTERNATIONAL
   UNDERWRITERS DESIGNATED                          No.: 3:20-CV-05607-RBL
11 ACTIVITY COMPANY,
                                                    STIPULATED MOTION TO DISMISS
12                         Plaintiff,
13         v.
14 CUSTOM HOME INSPECTIONS, LLC, a
   Washington Limited Liability Company;
15 MARNIE SHEERAN, individually,

16                         Defendants.
17

18                                           STIPULATION

19         Plaintiff AmTrust International Underwriters Designated Activity Company and

20

21 stipulate that this lawsuit should be dismissed with prejudice and without an award of costs

22 or fees to any Party.

23         IT IS SO ORDERED this 5th day of November 2020.

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25                                             ________________________________________
                                               THE HONORABLE BARBARA J. ROTHSTEIN
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     STIPULATED MOTION                                              PAGE 1    Bullivant|Houser|Bailey PC
            TO DISMISS NO. 3:20-                                              925 Fourth Avenue, Suite 3800
                                                                              Seattle, Washington 98104
     CV-05607-RBL                                                             Telephone: 206.292.8930
